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                                                                      John W. Lucas (State Bar No. 271038)
                                                                    2 Jeffrey P. Nolan (State Bar No. 158923)
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                                                                    7
                                                                      Counsel to Bradley D. Sharp, Chapter 11 Trustee
                                                                    8
                                                                                               UNITED STATES BANKRUPTCY COURT
                                                                    9
                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                   10                                   LOS ANGELES DIVISION
                                                                   11    In re                                          Case No.: 2:23-bk-10990-NB
                                                                                                                        Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12    LESLIE KLEIN,
                                                                                                                        CERTIFICATE OF SERVICE
                                                                   13                        Debtor.
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




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                                                                    1                                   PROOF OF SERVICE OF DOCUMENT
                                                                    2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                        address is:
                                                                    3                                One Sansome Street, Suite 3430, San Francisco, CA 94105.

                                                                    4 A true and correct copy of the foregoing document entitled (specify): Notice of Motion and Motion to
                                                                        Enforce Order to Restore Possession of the Property Located at 322 N. June St., Los Angeles,
                                                                    5 California to the Trustee, Compelling Debtor to Vacate the Property, Authorizing and Directing the
                                                                        United States Marshals Service to Turnover Possession of the Property, and Authorizing the
                                                                    6 Trustee to Remove Any Remaining Personal Property; Memorandum of Points and Authorities;
                                                                        Declaration of John W. Lucas in Support Thereof [Relates to Docket No. 923] served or was served
                                                                    7 (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
                                                                        stated below:
                                                                    8
                                                                        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
                                                                    9 controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                                                        hyperlink to the document. On (date) March 18, 2025, I checked the CM/ECF docket for this bankruptcy
                                                                   10 case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
                                                                        List to receive NEF transmission at the email addresses stated below:
                                                                   11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12                                                               Service information continued on attached page

                                                                   13 2. SERVED BY UNITED STATES MAIL: On (date) March 18, 2025, I served the following persons and/or
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                        entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
                                                                   14 correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
                                                                        addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
                                                                   15 completed no later than 24 hours after the document is filed.

                                                                   16
                                                                                                                                    Service information continued on attached page
                                                                   17

                                                                   18 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                        (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                                                                   19 March 18, 2025, I served the following persons and/or entities by personal delivery, overnight mail service,
                                                                        or (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                                   20 follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                                        judge will be completed no later than 24 hours after the document is filed.
                                                                   21
                                                                            Via Email:
                                                                   22       Eric J Olson: eric@ejolsonlaw.com
                                                                   23       Leslie Klein: les.kleinlaw@gmail.com;
                                                                            leskleinlaw@gmail.com;
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                                                                   25                                                               Service information continued on attached page

                                                                   26 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

                                                                   27
                                                                           March 18, 2025                       Oliver Carpio                 /s/ Oliver Carpio
                                                                   28      Date                                 Printed Name                  Signature



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                                                                    1 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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                                                                    1 2. SERVED BY UNITED STATES MAIL:

                                                                    2        Peter C. Anderson, U.S. Trustee         Nathan Talei                      Leslie Klein & Associates, Inc.
                                                                             Michael Jones, Assistant U.S. Trustee   Oldman, Sallus & Gold, L.L.P.     c/o Parker Milliken
                                                                    3        Office of the U.S. Trustee              16133 Ventura Blvd., PH-A         555 Flower Street
                                                                             915 Wilshire Boulevard, Suite 1850      Encino, CA 91436                  Los Angeles, CA 90071
                                                                    4        Los Angeles, CA 90017

                                                                    5        Leslie Klein                            Leslie Klein & Associates, Inc.
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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        LOS ANGELES, CALIFORNIA
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